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        2450 ( . C ~                    men ma Criminal Case for Revocations                                               ,/Jff? 1· /'
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                                        UNITED STATES DISTRICT COOR                                                      JAN 1 1 ?n:),                            I
                   UNrruo STATIS

                                   V.
                                        o,~::ffiRN~TIU~:::=:::;Rit~~     (For Revocation of Probation or Supervised Release)
        ALAIN ALEJANDRO ROBLES-MURRIETA (I)                              (For Offenses Committed On or After November 1, 1987)

                                                                            Case Number:       3:15-CR-01079-WQH

                                                                         Jesus Mosqueda
   REGISTRATION NO.                                                     Defendant's Attorney
                                  44248-298
   •·
   THE DEFENDANT:
   /g/ admitted guilt to violation ofallegation(s) No.
                                                              1-2
  0 was found guilty in violation of allegation(s) No.
                                                            ------------
  Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):
                                                                                                         after denial of guilty.

  Allegation Number
                                    Natnre of Violation


                                   nv3, Unlawful use of a controlled substance or Failure to Test; VCCA (Violent Crime Control
                                   Act)
               2
                                   nv21, Failure to participate in drug aftercare program




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.


                                                                     January 1l 2021
                                                                    Date of!mposition of Sentenc
              Case 3:15-cr-01079-WQH
        AO 245Q(CASD  Rev ()1719) Jtidgment inDocument    60 tor
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         DEFENDANT:                1\-IAThf Al:EIANDRO ROBLES-MURRIE IA (I)
      __ CASE NUMBER:            - 3:15-CR-01079cWQH     --- --- -- --- -                                Judgment- Page 2 of2


                                                        IMPRISONMENT
      The defendant is hereby committed to the custody of the United States Bur_eau of Prisons to_he.imprisoned-for-a-termof: -
---Nine{9-)months------- -




         •     Sentence imposed pursuant to Title 8 USC Section l 326(b ).
         •     The court makes the following recommendations to the Bureau of Prisons:




        •     The defendant is remanded to the custody of the United States Marshal.

        •     The defendant shall surrender to the United States Marshal for this district:
              •     at _ _ _ _ _ _ _ _ _ A.M.                      on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              •     as notified by the United States Marshal.

        •     The defendant shall surrender for service of sentence at the institution designated by the Bureau of
              Prisons:
             •     on or before
             •     as notified by the United States Marshal.
             •     as notified by the Probation or Pretrial Services Office.

                                                            RETURN
       I have executed this judgment as follows:

             Defendant delivered on
                                      ------------- to ---------------
       at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                    UNITED STATES MARSHAL


                                         By
                                                                DEPUTY UNITED STATES MARSHAL




                                                                                                   3:15-CR-01079-WQH
